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                          EXHIBIT “B”



         DECLARATION OF PRO SE ELIGIBLE CLAIMANT
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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF PENNSYLVANIA


IN RE: PHILIPS RECALLED CPAP, BI-                      Master Docket: No. 21-mc-1230-JFC
LEVEL PAP, AND MECHANICAL
VENTILATOR PRODUCTS LIABILITY                          MDL No. 3014
LITIGATION

This Document Relates to:

Personal Injury Claimants
and Potential Claimants


 IDENTIFICATION ORDER DECLARATION OF PRO SE ELIGIBLE CLAIMANT

       1.      My name is [INSERT NAME OF PRO SE ELIGIBLE CLAIMANT], and I am an

Eligible Claimant and not represented by counsel.

       2.      I submit this Identification Order Declaration in accordance with the Master

Settlement Agreement (“MSA”) and the Court’s Identification Order.

       3.      Attached hereto is a chart that identifies my personal information and the other

information required by the Identification Order. I certify that this information is accurate. I

understand that in submitting this Declaration, I am not making the determination of whether or

not to participate in the Settlement Program set forth in the MSA.

       4.      I understand that to comply with the MSA and the Court’s Identification Order, this

Identification Order Declaration must be submitted by the Identification Order Deadline, which is

June 21, 2024. The attached chart will be timely served in Excel format through MDL Centrality

in conformance with the Identification Order.

       5.      I understand and agree that my failure to provide the information required by the

Identification Order will result in sanctions and other penalties as determined by the Court.

       I swear under penalty of perjury that the foregoing is true and correct.

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DATE: [MONTH] [DAY], [YEAR]               /s/
                                          [NAME OF CLAIMANT]
                                          [ADDRESS]
                                          [ADDRESS]
                                          [ADDRESS]
                                          [TELEPHONE NUMBER]
                                          [EMAIL ADDRESS]




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                IDENTIFICATION OF PRO SE ELIGIBLE CLAIMANT




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(FIRST (LAST)         L      E      ESS               Fili ber  er (if
   )                ADDR   NUMB                       ng       applic
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